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            EXHIBIT A
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                                                                                                                                         PLO-PI-001
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name State Bar number, and address)
                                                                                                              FOR COURT USE ONLY
    Wendy H. Chau, SBN 278801
    Law Offices of Wendy H. Chau
    580 California Street, Suite 1200
    San Francisco, CA 94104
           TELEPHONE NO 415-539-6116            FAX NO (Optional)
                                                                  888-958-1953
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    ATTORNEY FOR (Name) Faye Vaden and Alma Jackson
                                                                                                              11                           D
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Contra Costa                                                          MAR - 5 2019
         STREET ADDRESS• 725 Court Street
                                                                                                             K BlEetIR
                                                                                                                       CLERK OF THE COURT
                                                                                                                                    FORNIA
                                                                                                            SUPERIOR COURT OF CAL
         MAILING ADDRESS.                                                                                      COUNTY OF CON1RA
                                                                                                                                  COSTA

                        Martinez, CA 94553
        CITY AND ZIP CODE                                                                                           Avula       CA:ric


            BRANCH NAME Wakefield Taylor Courthouse

             PLAINTIFF. Faye Vaden and Alma Jackson


           DEFENDANT:          Haicr US Appliance Solutions Inc., Linn Star Transfer
                               Inc., Mabe SA de CV and
                                                                                                                   SUMMONS ISSUED
         DOES 1 TO        25
 COMPLAINT—Personal Injury, Property Damage, Wrongful Death
           AMENDED (Number):
 Type (check all that apply):                                                                       PER LOCAL RULE,1-1-V,
      MOTOR VEHICLE           v OTHER (specify):                                                    CASE IS4WIGNED TC
           Property Damage         Wrongful Death                                                    DEPT4J, FOR ALL
           Personal Injury         Other Damages (specify):                                              PURPOSES,
 Jurisdiction (check all that apply):                                                           CASE NUMBER
      ACTION IS A LIMITED CIVIL CASE
      Amount demanded              does not exceed $10,000
                                   exceeds $10,000, but does not exceed $25,000
                                                                                               C19 -10454
      ACTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000)
      ACTION IS RECLASSIFIED by this amended complaint
            from limited to unlimited
            from unlimited to limited
1. Plaintiff (name or names):   Faye Vaden and Alma Jackson
   alleges causes of action against defendant (name or names):
   HATER US Appliance Solutions Inc. dba GE Appliances, Linn Star Transfer Inc., MABE SA de CV
2. This pleading, including attachments and exhibits, consists of the following number of pages: 5
3. Each plaintiff named above is a competent adult
   a.       except plaintiff (name):
            (1)       a corporation qualified to do business in California
            (2)       an unincorporated entity (describe):
            (3)       a public entity (describe):
            (4)       a minor          an adult
                      (a)        for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
                      (b) I      other (specify):
            (5)       other (specify):
   b.           except plaintiff (name):
                (1)      a corporation qualified to do business in California
                (2)      an unincorporated entity (describe):
                (3)      a public entity (describe):
                (4)      a minor I          an adult
                         (a)         for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
                         (b)         other (specify):
                (5)      other   (specify):

           Information about additional plaintiffs who are not competent adults is shown in Attachment 3.                                    Page 1 of 3
                                                                                                                        Code of Civil Procedure, § 425 12
 Form Approved for Optional Use                     COMPLAINT—Personal Injury, Property                                              www courtinfo ca gov
   Judicial Council of California
PLD-PI-001 (Rev January 1 20071                                Damage, Wrongful Death
                             Case 3:19-cv-01846-LB Document 1-1 Filed 04/05/19 Page 3 of 6

                                                                                                                                    PLD-PI-001
     SHORT TITLE:                                                                                       CASE NUMBER.

     Vaden v. HAIER US Appliance Solutions Inc. dba GE Appliances

4.              Plaintiff (name):
                is doing business under the fictitious name (specify):

       and has complied with the fictitious business name laws.
5 Each defendant named above is a natural person
  a. v except defendant (name): Haier US Appliance                             c.   V   except defendant (name): Linn Star Transfer       Inc.
          (1)      a business organization, form unknown                                (1)      a business organization, form unknown
          (2) v a corporation                                                           (2) v a corporation
          (3)      an unincorporated entity (describe).                                 (3)      an unincorporated entity (describe):

                     (4) [     a public entity (describe):                              (4)      a public entity (describe):

                     (5)       other (specify):                                         (5)      other (specify):




      b.             except defendant (name): Mabe SA de CV                    d.       except defendant (name):
                              a business organization, form unknown                              a business organization, form unknown
                              a corporation                                                      a corporation
                              an unincorporated entity (describe):                               an unincorporated entity (describe):

                               a public entity (describe):                              (4)      a public entity (describe):

                               other (specify):                                         (5)      other (specify):


                 Information about additional defendants who are not natural persons is contained in Attachment 5.

6.         The true names of defendants sued as Does are unknown to plaintiff.
           a.    v     Doe defendants (specify Doe numbers): 1- 1 7                         were the agents or employees of other
                       named defendants and acted within the scope of that agency or employment.
           b.    v     Doe defendants (specify Doe numbers):    1 8-25                           are persons whose capacities are unknown to
                       plaintiff.
7.               Defendants who are joined under Code of Civil Procedure section 382 are (names):




8.         This court is the proper court because
           a. [ 1 at least one defendant now resides in its jurisdictional area.
           b.       the principal place of business of a defendant corporation or unincorporated association is in its jurisdictional area.
           c.   v injury to person or damage to personal property occurred in its jurisdictional area.
           d.       other (specify):




9.                Plaintiff is required to comply with a claims statute, and
           a.         has complied with applicable claims statutes, or
           b.         is excused from complying because (specify):




                                                                                                                                          Page 2 of 3
PLO-PI-001 [Rev January 120071                         COMPLAINT—Personal Injury, Property
                                                            Damage, Wrongful Death
                        Case 3:19-cv-01846-LB Document 1-1 Filed 04/05/19 Page 4 of 6

                                                                                                                                  PLD-P1-001
 SHORT TITLE:                                                                                     CASE NUMBER

 Vaden v. HATER US Appliance Solutions Inc. dba GE Appliances

10. The following causes of action are attached and the statements above apply to each (each complaint must have one or more
    causes of action attached):
    a. [ 1 Motor Vehicle
    b. r     General Negligence
    c. F-1 Intentional Tort
    d. r Vi Products Liability
    e.       Premises Liability
    f.       Other (specify):




11. Plaintiff has suffered
    a. r       wage loss
    b.         loss of use of property
    c. 6/ hospital and medical expenses
    d.         general damage
    e. r       property damage
               loss of earning capacity
    g. v other damage (specify):

                   Punitive- punishment for incredibly reckless behavior and callously indifferent.


12.           The damages claimed for wrongful death and the relationships of plaintiff to the deceased are
      a.   1 1 listed in Attachment 12.
      b.          as follows:




13. The relief sought in this complaint is within the jurisdiction of this court.
       Yes

14. Plaintiff prays for judgment for costs of suit; for such relief as is fair, just, and equitable; and for
    a. (1) V compensatory damages
       (2) v punitive damages
       The amount of damages is (in cases for personal injury or wrongful death, you must check (1)):
       (1) v according to proof
       (2)        in the amount of: $

15.          The paragraphs of this complaint alleged on information and belief are as follows (specify paragraph numbers):




Date:      3/4/2019

Wendy H. Chau
                              (TYPE OR PRINT NAME)

PLD-PI-001 [Rev January 1, 20071                     COMPLAINT—Personal Injury, Property
                                                                                                  e„0
                                                                                            (SIGNATURE OF PLAINTIFF   ATTORNEY)

                                                                                                                                      Page 3 of 3

                                                          Damage, Wrongful Death
                       Case 3:19-cv-01846-LB Document 1-1 Filed 04/05/19 Page 5 of 6

                                                                                                                             PLD-PI-001(2
  SHORT TITLE:                                                                                 CASE NUMBER

  Vaden v. Haier US Appliance Solution Inc. dba GE Appliances, et al.


          ONE                                      CAUSE OF ACTION—General Negligence                                  Page              4
                        (number)

         ATTACHMENT TO                        Complaint         Cross - Complaint
         (Use a separate cause of action form for each cause of action)

         GN-1. Plaintiff (name):         Faye Vaden and Alma Jackson

                   alleges that defendant (name)          Linn Star Transfer Inc.



                                       Does    I               to   3

                   was the legal (proximate) cause of damages to plaintiff. By the following acts or omissions to act defendant
                   negligently caused the damage to plaintiff
                   on (date): 3/11/17
                   at (place):       551 12th Street, Richmond, CA (herein as the subject property or subject address)
                   (description of reasons for liability):

                    On or around 3/1 1/17, the Hotpoint/GE Appliance Top Load HTW200ASKWW 27" Washer with
                    HTX21GASKWW 27" Gas Dryer Laundry Pair in White was delivered to plaintiffs at the above
                    address by Linn Star Transfer Inc. Linn Star Transfer service man delivered and quickly installed/
                    connected the subject washer and dryer to the wall outlet and left after installation. About 12 or so
                    hours later, Plaintiffs started feeling ill. One of Plaintiffs sibling who was visiting told her they
                    smell gas and called for PG&E. PG&E came on 3/12/17 at 2am on the morning. The PG&E
                    service mechanician guy, Phuong T. said to Faye Vaden and also wrote it on the PG&E service
                    card that - Found gas leak at the tlexline connector, found lose, cannot correct, disconnected
                    appliance and issued hazard notice. Referred customer to seek out licensed contractor for
                    service.- Linn Star Transfer returned again to replace the machine and made
                    Plaintiff Vaden sign on the invoice that "no gas leak on connection" and told her that the gas leak
                    was coming from the dyer and to call GE customer service.

                    Based on that information, plaintiff believes Linn Star incorrectly/improperly/recklessly install
                    the gas dryer. At all times relevant to this action, Defendant Linn Star had a duty to exercise
                    reasonable care, and to comply with the existing standards of care in the installation of appliances
                    The combination of defective product and Linn Star Transfer service man not properly tighten
                    the flexline connector, were a substantial contributing cause of the injuries and damages suffered
                    by Plaintiffs. The injuries and damages suffered by Plaintiffs were the reasonably foreseeable
                    results of Defendants negligence. But for defendants failure to properly install, test, and quality
                    check or warn, Plaintiff would not have been injured. As a direct and proximate cause of the
                    Defendants' negligence, Plaintiffs suffered respiratory illness. Plaintiffs require future medical
                    care, including oxygen supplies, surgery, physical therapy etc. In addition, Plaintiff has suffered
                    mental distress and anguish and has suffered permanent impairment of the use and function of his
                    affected upper extremities, and other damages. Wherefore, Plaintiffs pray for judgment against
                     Defendants, jointly and severally, for Ten Million Dollars ($10,000,000) compensatory damages
                     or according to proof, punitive for incredibility reckless, plus interest, costs and attorneys' fees.
                                                                                                                                         Page 1 of 1
                                                                                                                       Code of Civil Procedure 425 12
  Form Approved for Optional Use
    Judicial Council of California
                                                   CAUSE OF ACTION—General Negligence                                           www courtinfo ca gov

PLD-PI-001(2) [Rev January 1 2001
                        Case 3:19-cv-01846-LB Document 1-1 Filed 04/05/19 Page 6 of 6

                                                                                                                                          PLD-PI-001(5)
 SHORT TITLE                                                                                             CASE NUMBER

 Vaden v. Haier US Appliance Solutions, Inc. dba GE Appliances, et al.

         2nd, 3rd and 4th                          CAUSE OF ACTION—Products Liability                                          Page              5
                        (number)
         ATTACHMENT TO               Complaint           Cross - Complaint
         (Use a separate cause of action form for each cause of action)
         Plaintiff (name).       Faye Vaden and Alma Jackson

         Prod. L-1. On or about (date):            3/12/17                                plaintiff was injured by the following product:
         Gas leak coming from Hotpoint® 6.2 Cu. ft. capacity aluminized alloy gas dryer HTX21GASKWW
         causing injury to both plaintiffs respiratory injuries. Ms. Vaden injury is more severe than Ms. Jackson.
         Gas leak and maybe other type of gas from gas dryer is considered dangerous/hazardous.
         Prod L-2 Each of the defendants knew the product would be purchased and used without inspection for defects.
                   The product was defective when it left the control of each defendant. The product at the time of injury
                   was being
                          used in the manner intended by the defendants.
                             used in the manner that was reasonably foreseeable by defendants as involving a substantial danger not
                             readily apparent. Adequate warnings of the danger were not given.
         Prod. L-3 Plaintiff was a
                             purchaser of the product                              user of the product.
                             bystander to the use of the product.                  other (specify).

         PLAINTIFF'S INJURY WAS THE LEGAL (PROXIMATE) RESULT OF THE FOLLOWING:
         Prod L-4,       Count One—Strict liability of the following defendants who
                         a  6/  manufactured or assembled the product (names)
                                                Haier US Appliance Solutions, Inc. dba GE Appliances and Mabe S.A. de C.V.

                                                    Iv    Does   4                  to 10
                                               designed and manufactured component parts supplied to the manufacturer (names)•
                                                Mabe, S.A. de C.V.

                                                    I v   Does 1 1                  to    17
                                         V      sold the product to the public (names).
                                                HA1ER US APPLIANCE SOLUTIONS, INC. dba GE Appliances; Home Depot

                                                          Does   18                 to    25
         Prod L-5.                   Count Two—Negligence of the following defendants who owed a duty to plaintiff (names)
                                      Haier US Appliance Solutions Inc., Linn Star Transfer Inc., and Mabe S.A. de C.V.
                                                     Does 1                to 25
         Prod L-6           vi       Count Three—Breach of warranty by the following defendants (names):
                                      Haier US Appliance Solutions, Inc. dba GE Appliances (herein as "GE")
                                                     Does 1                to 25
                                     a V who breached an implied warranty
                                               who breached an express warranty which was
                                               I I written 1 1 oral
          Prod. L-7       IvI        The defendants who are liable to plaintiffs for other reasons and the reasons for the liability are
                                          listed in Attachment-Prod. L-7           as follows.
                                             See Cause Of Action # One for more detail: Linn Star Transfer Inc. contractor for
                                             GE, who may have recklessly installed/connected the subject gas dryer machine. Page 1 of 1
                                                                                                                                  Code of Civil Procedure § 425 12
  Form Approved for Optional Use                     CAUSE OF ACTION—Products Liability                                                        www courtinfo ca gov
    Judicial Council of California
PLD-PI-001(5) (Rev January 1 20071
